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People v. Jason Lee Van Dyke, 19PDJ027. May 8, 2019.

The Presiding Disciplinary Judge approved the parties’ conditional admission of misconduct
in this reciprocal discipline matter and suspended Jason Lee Van Dyke (attorney registration
number 47445) for one year, all but three months to be stayed subject to Van Dyke’s
compliance with the probationary conditions in his Texas disciplinary case. The suspension
takes effect June 12, 2019.

On February 21, 2019, the State Bar of Texas accepted an agreed judgment of a partially
probated case and suspended Van Dyke from the practice of law for one year, all but three
months stayed, subject to conditions. Van Dyke made threats of physical violence to a
complainant, thereby committing a criminal act that reflects adversely on Van Dyke’s
honesty, trustworthiness, or fitness as a lawyer.

Through this conduct, Van Dyke engaged in conduct constituting grounds for discipline
under C.R.C.P. 251.21. The case file is public per C.R.C.P. 251.31.
